Case 9:22-mj-08332-BER Document 132 Entered on FLSD Docket 09/16/2022 Page 1 of 3
             USCA11 Case: 22-13061 Date Filed: 09/12/2022 Page: 1 of 2

                                                                                                        JE
                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT                                Sep 15, 2022
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.                                      Miami
                                               Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                           September 15, 2022

   Michael S. Barth
   PO BOX 832
   FAR HILLS, NJ 07931

   Appeal Number: 22-13061-J
   Case Style: USA v. Michael Barth
   District Court Docket No: 9:22-mj-08332-BER-1

   Please use the appeal number for all filings in this court.

   Electronic Filing
   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
   Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
   11th Cir. R. 26.1-1. In addition:

        •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
        •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
             this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
        •    Only parties represented by counsel must complete the web-based CIP. Counsel must
             complete the web-based CIP, through the Web-Based CIP link on the Court's website,
             on the same day the CIP is first filed.

   The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
   case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
   sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

   Attorney Admissions
   Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
   this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
   attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
   appearance form within fourteen (14) days after this letter's date. The Application for
Case 9:22-mj-08332-BER Document 132 Entered on FLSD Docket 09/16/2022 Page 2 of 3
             USCA11 Case: 22-13061 Date Filed: 09/12/2022 Page: 2 of 2



   Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
   The clerk generally may not process filings from an attorney until that attorney files an
   appearance form. See 11th Cir. R. 46-6(b).

   Defaults
   Pursuant to 11th Cir. R. 42-1(b), this appeal will be dismissed after 14 days and without
   further notice unless the following default(s) have been corrected:

   Either (i) pay to the DISTRICT COURT clerk the docketing and filing fees, or (ii) request leave
   to proceed in forma pauperis on appeal in the district court. See FRAP 24(a). If the district court
   denies such leave, the appellant may file in this court a Motion for Permission to Appeal In
   Forma Pauperis with Affidavit, which is available on the Court's website.

   Transcript Information Form
   Pursuant to FRAP 10(b), the appellant must, within 14 days, file a Transcript Information Form,
   which is available on the Court's website. See FRAP 10(b)(1); 11th Cir. R. 10-1. Unless a
   transcript is ordered, the appellant's brief is due 40 days after 09/12/2022, except as otherwise
   provided in 11th Cir. R. 31-1. See 11th Cir. R. 12-1 and 31-1.

   Obligation to Notify Court of Change of Addresses
   Each pro se party and attorney has a continuing obligation to notify this court of any changes to
   the party's or attorney's addresses during the pendency of the case in which the party or attorney
   is participating. See 11th Cir. R. 25-7.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Davina C Burney-Smith, J/md
   Phone #: (404) 335-6183

                                                                   DKT-2 Appeal WITH Deficiency
Case 9:22-mj-08332-BER Document 132 Entered on FLSD Docket 09/16/2022 Page 3 of 3
             USCA11 Case: 22-13061 Date Filed: 09/12/2022 Page: 1 of 3
